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Attorneys for Plaintiffs STAR DIALYSIS, LLC;
ORDUST DIALYSIS, LLC; ROUTT DIALYSIS,
LLC; PANTHER DIALYSIS, LLC; DAVITA INC.


                               UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF IDAHO

STAR DIALYSIS, LLC; ORDUST                   Case No. 1:18-cv-00482
DIALYSIS, LLC; ROUTT DIALYSIS, LLC;
PANTHER DIALYSIS, LLC; DAVITA INC.,          JOINT STIPULATION FOR EXTENSION OF
                                             TIME
                 Plaintiffs,

           v.

WINCO FOODS EMPLOYEE BENEFIT
PLAN; WINCO FOODS, LLC, a Delaware
limited liability company; and WINCO
HOLDINGS, INC., an Idaho corporation,

                 Defendants.




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     TO THE HONORABLE COURT, AND TO ALL PARTIES AND THEIR COUNSEL
OF RECORD:
           Pursuant to Local Rule 6-1(a), the above-captioned parties, through their counsel of

record, hereby stipulate and agree to extend the time (1) for Plaintiffs to file their response brief

to Defendants’ motion to dismiss [Dkt. 20] from January 11, 2019 to January 25, 2019, and

(2) for Defendants to file their reply brief from February 8, 2019 to February 15, 2019, for the

following reasons:

           1.     The parties have previously agreed to extend Defendants’ time to respond to the

complaint, from November 23, 2018 to December 7, 2018. The parties also agreed, if Defendants

filed a motion to dismiss, to allow Plaintiffs an extension of at least two weeks, from December

28, 2018 to January 11, 2019.

           2.     The parties also previously agreed to extend the time to file joint litigation and

discovery plans from December 26, 2018 to January 31, 2019.

           3.     The requested 14-day extension of time for Plaintiffs’ response will allow

Plaintiffs adequate time to prepare a brief on the complex questions presented by Defendants’

motion, and is necessary in light of the tasks and deadlines Plaintiffs’ counsel is currently facing

in other matters.

                  a. On January 8, 2019, Plaintiffs’ counsel will present oral argument before the

                      Supreme Court of the United States in Fourth Estate Public Benefit

                      Corporation vs. Wall-Street.com, No. 17-571.

                  b. Plaintiffs’ counsel has numerous upcoming deadlines associated with a trial

                      beginning on February 19, 2019, in a matter before the United States District

                      Court for the Central District of California, Grasshopper House, LLC v. Clean

                      & Sober Media, No. 2:18 Civ. 923 (SVW) (RAO). These deadlines include: a


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                    pretrial conference of counsel on January 4, 2019; motions in limine due

                    January 7, 2019; cross-motions for summary judgment to be filed imminently,

                    likely in the week of January 7, 2019; and a final pretrial conference on

                    February 4, 2019. This matter has been proceeding on a consolidated

                    schedule, with about ten depositions taking place in December 2018.

                 c. On January 18, 2019, Plaintiffs’ counsel must file its opening brief in a matter

                    before the United States Court of Appeals for the Eighth Circuit, Rozo v.

                    Principal Life Ins. Co, No. 18-3310.

                 d. On January 24, 2019, Plaintiffs’ counsel must respond to discovery requests in

                    a matter before the United States District Court for the Northern District of

                    California, Fairbairn v. Fidelity Investments Charitable Gift Fund, No. 3:18

                    Civ. 4881 (JSC).

           4.    The corresponding 7-day extension of time for Defendants’ reply will allow

adequate time for Defendants to prepare their reply brief on the complex questions presented by

this case, in addition to the joint litigation and discovery plans due on January 31, 2019.

           5.    This Stipulation is not intended for purposes of delay and no party will be

prejudiced by the granting of this extension.

           6.    The parties respectfully request that the Court enter an Order approving this

Stipulation.


Dated: January 4, 2019                             By: /s/ Rachana A. Pathak
                                                       Rachana A. Pathak (pro hac vice)
                                                       Attorneys for Plaintiff

Dated: January 4, 2019                             By: /s/ Tyler J. Anderson
                                                       Tyler J. Anderson
                                                       Attorneys for Defendants



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